



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        The State, Respondent,
        v.
        Joseph Baggett, Appellant.
      
    
  


Appeal From York County
&nbsp;John C. Hayes, III, Circuit Court Judge

Unpublished Opinion No. 2009-UP-475
  Submitted October 1, 2009  Filed October
13, 2009&nbsp;&nbsp;&nbsp; 

APPEAL DISMISSED


  
    
      
        Appellate Defender LaNelle C. DuRant, of Columbia, for Appellant.
        John Benjamin Aplin, of Columbia, for Respondent.
      
    

PER CURIAM:&nbsp; Joseph Baggett appeals his probation revocation, arguing the trial court erred in revoking his probation without holding a full evidentiary
  hearing.&nbsp; After a thorough review of the record and counsel's brief pursuant to Anders v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the
  appeal and grant counsel's motion to be relieved.[1]&nbsp; 
APPEAL
  DISMISSED.
HUFF,
  THOMAS, and PIEPER, JJ., concur.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

